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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


  STEPHEN KENNEDY                        HONORABLE JEROME B. SIMANDLE

                         Plaintiff,               1:15-cv-01790

             v.                                MEMORANDUM OPINION

  CREDITGO, LLC

                         Defendant.




 SIMANDLE, Chief Judge:

      This matter comes before the Court by way of Plaintiff

 Stephen Kennedy’s Motion for Default Judgment. [Docket Item 14].

 In Plaintiff’s Motion for Default Judgment, Plaintiff alleged that

 Defendant infringed upon Plaintiff’s copyright and removed

 copyright management information in violation of 17 U.S.C. § 501

 and 17 U.S.C. § 1202. (Id.) On December 2, 2015, this Court

 granted Plaintiff’s Motion for Default Judgment as to liability

 and costs. [Docket Items 18, 19]. However, Plaintiff’s original

 submission did not have sufficient information for the Court to

 determine if the statutory damages requested by the Plaintiff were

 just (Id.). The Court denied without prejudice Plaintiff’s motion

 as to statutory damages, and permitted Plaintiff to submit a

 renewed statutory damages application within 14 days of the entry

 of the order. [Docket Items 18, 19].
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        In the opinion accompanying the December 2, 2015 order, the

 Court explained that Plaintiff did not provide his licensing rate

 nor an estimate of his loss, and requested that Plaintiff provide,

 where possible, “the expenses saved and profits reaped by the

 infringer and revenue lost by the plaintiff.” [Docket Item 18].

 The Court also requested additional information on damages in

 regards to the removal of copyright management information. (Id.)

      On December 21, 2015, Plaintiff’s attorney wrote a letter to

 the Court stating that he had not seen the opinion and order, and

 requesting an extension to January 8, 2016. [Docket Item 20]. The

 Court granted the extension. [Docket Item 21].

      On January 8, 2016, Plaintiff filed an additional submission,

 including a supplemental sworn declaration of Stephen Kennedy.

 (Declaration of Stephen Kennedy “Kennedy Dec.”)[Docket Item 22].

 In the declaration, Plaintiff stated that the image at issue was

 created during a photo shoot he produced for an auto insurance

 company. (Kennedy Dec. ¶ 22).       Plaintiff stated that the company

 paid him $7,600 for the photo shoot and for a limited license.

 (Id.) Plaintiff indicated that the fee he was paid “includes the

 license fee as well as the cost of production, which includes fees

 to the model and for casting, location scouting and fees, prop

 selection and preparation.” (Id. ¶ 23). Plaintiff did not specify




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 what it would have cost Defendant to license the individual photo

 at issue.1


 II. Discussion

      “Statutory damages serve the dual purposes of compensation

 and deterrence: they compensate the plaintiff for the infringement

 of its copyrights; and they deter future infringements by

 punishing the defendant for its actions.” Broad. Music, Inc. v.

 Spring Mount Area Bavarian Resort, Ltd., 555 F. Supp. 2d 537, 544

 (E.D. Pa. 2008) (quoting Schiffer Publ'g, Ltd. v. Chronicle Books,

 No. CIV.A.03-4962, 2005 WL 67077, at *5 (E.D. Pa. Jan. 11, 2005)).

 “In determining the amount of statutory damages, it is important

 that an infringer ‘not reap a benefit from its violation of the

 copyright laws [and] that statutory damages should exceed the

 unpaid license fees so that defendant will be put on notice that

 it costs less to obey the copyright laws than to violate them.’”

 Broad. Music, Inc., 555 F. Supp. 2d at 544 (quoting A & N Music

 Corp. v. Venezia, 733 F. Supp. 955, 958 (E.D. Pa. 1990)).

      To determine the appropriate amount of statutory damages,

 courts must consider the following factors: “(1) expenses saved


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  Plaintiff stated that he would have refused to issue Defendant a
 license: “Even if Creditgo had inquired about a stock license for
 that or even another photograph, it is highly unlikely that one
 would have been granted as my goal is to only allow licensees from
 legitimate and blue chip companies to do business with me.”
 (Kennedy Dec. ¶ 27).


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 and profits reaped by the infringer; (2) revenues lost by the

 plaintiff; (3) the strong public interest in insuring the

 integrity of the copyright laws; and (4) whether the infringement

 was willful and knowing or innocent and accidental.” Original

 Appalachian Artworks, Inc. v. J.F. Reichert, Inc., 658 F. Supp.

 458, 465 (E.D. Pa. 1987). In determining the just amount of

 statutory damages, “[t]he defendant's conduct is the most

 important factor.” Broad. Music, Inc. v. Longhorn Corral, Inc.,

 No. CV 15-950, 2016 WL 164607, at *3 (W.D. Pa. Jan. 14,

 2016)(citing Schiffer, 2005 WL 67077, at *5).

      Where there has been a default judgment, as here, and the

 Plaintiff requests statutory damages in excess of the minimum, the

 Court must consider “whether the facts contained in the Complaint,

 as well as any evidence adduced by Plaintiffs in their filings,

 provide us with a sufficient basis to determine whether the

 requested statutory damages are just.” Broad. Music, Inc. v.

 Longhorn, 2016 WL 164607, at *3.



 III. Copyright Infringement

      The Court granted a default judgment to Plaintiff for

 Copyright Infringement under 17 U.S.C. § 501. [Docket Item 19].

 Plaintiff has requested statutory damages, and is therefore

 entitled to damages “not less than $750 or more than $30,000 as

 the court considers just.” 17 U.S.C. § 504 (c)(1). Additionally,


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 under 17 U.S.C. § 504 (c)(2), “in a case where the copyright owner

 sustains the burden of proving, and the court finds, that

 infringement was committed willfully, the court in its discretion

 may increase the award of statutory damages to a sum of not more

 than $150,000.” 17 U.S.C.A. § 504 (c)(2). Plaintiff has argued

 that Defendant was willful and requested the maximum enhanced

 statutory damages.

      The Court must first decide if Plaintiff has met his burden

 to show willfulness. A finding of willfulness requires the

 plaintiff “to show that the infringer acted with actual knowledge

 or reckless disregard for whether its conduct infringed upon the

 plaintiff's copyrights.” Original Appalachian Artworks, 658 F.

 Supp. at 464. Plaintiff has certified that the image at issue was

 only ever published on his website, and had safeguards designed to

 “prevent[ ] viewers from saving copies of my images by right

 clicking or otherwise trying to download electronic copies of my

 images.” (Kennedy Dec. ¶¶ 9, 19). Plaintiff stated that each page

 of Plaintiff’s website includes a copyright notice and “clearly

 sets forth plaintiff’s contact information, identifies each image

 as copyrighted by plaintiff, proscribes any illegal copying, and

 sets forth protocols and procedures for the event that a viewer

 desire to license one of plaintiff’s images.” (Supp. Br. at 5;

 Kennedy Dec. ¶¶ 11-14). Plaintiff also argues that the removal of

 copyright management information constitutes willfulness. (Id.)


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 The Court finds that Plaintiff has met his burden of showing that

 the behavior was willful, as Defendant knew or very clearly should

 have known that the images on Plaintiff’s image licensing website

 could not be used without Plaintiff’s permission.

      Even when infringement is found to be willful, this Court has

 “wide discretion as to the damages actually awarded.” Broadcast

 Music, Inc. v. DeGallo, Inc., 872 F.Supp. 167, 169 (D.N.J. 1995).

 “[A]wards outside the ordinary statutory range are made only in

 ‘exceptional cases’. . . and there must be evidence of ‘especially

 egregious circumstances’ before the enhanced damages become

 appropriate.” Schiffer, 2005 WL 67077, at *5 (citing Nimmer on

 Copyright § 14.04[B][3] and Joe Hand Promotions v. Burg's Lounge,

 955 F. Supp. 42, 44 (E.D. Pa. 1997)); see also Granger v. One Call

 Lender Servs., LLC, No. CIV.A. 10-3442, 2012 WL 3065271, at *3

 (E.D. Pa. July 26, 2012). As the Schiffer court explained,

 “[C]ourts often award heightened damages where a defendant is a

 counterfeiter, a chronic copyright infringer, or if, after

 receiving notice of Plaintiff's claims, takes no action to

 investigate and merely continues its' infringing behavior.”

 Schiffer, 2005 WL 67077, at *5.

      In the instant case, Plaintiff sent notice of the

 infringement via letter to Defendant on October 8, 2014. (Compl. ¶

 27). Defendant responded to the Plaintiff’s letter via telephone

 on November 14, 2014. (Compl.¶ 29). The image was subsequently and


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 promptly removed. (Compl. Ex. E). Given these facts, the Court

 does not find especially egregious circumstances justifying the

 issuance of heightened damages.

      The Court will next look to the Original Appalachian Artworks

 factors. See 658 F. Supp. at 465. The factors require an analysis

 of the expenses saved and profits reaped by the infringer, and

 revenue lost by the plaintiff. See id. Plaintiff has not provided

 his licensing fee, but has stated that he was paid $7,600 to create

 and license a number of photos, including the image at issue in

 this case. (Kennedy Dec. ¶¶ 22, 23). This figure, while useful, is

 necessarily larger than the cost of licensing or producing the

 individual photo, since it includes multiple photos and the

 expenses of the entire photo shoot. The Court is also unable to

 unable to identify the profits reaped by the infringer as measured

 against the licensing fee. However, the Court observes that the

 image was placed on Defendant’s website, and that Plaintiff has not

 argued that it was otherwise sold or distributed. Additionally, the

 Original Appalachian Artwork factors also require an assessment of

 the Defendant’s behavior and conduct and the public interests at

 stake. See 658 F. Supp. at 465; see also Broad. Music, Inc. v.

 Longhorn Corral, 2016 WL 164607, at *3.

      Given these considerations, the Court finds that $7,600 is an

 appropriate amount of statutory damages for Defendant’s

 infringement. In awarding Plaintiff this sum, the Court has taken


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 willfulness into account; the award is nearly ten times the

 statutory minimum. See Granger v. One Call Lender Servs., LLC, No.

 CIV.A. 10-3442, 2012 WL 3065271, at *3 n.4(E.D. Pa. July 26,

 2012)(awarding Plaintiff his licensing fees in a willfulness case

 using a multiplier of ten and finding $150,000 clearly excessive).

 While the $7,600 award includes the licensing fee, the Court finds

 it likely that the award is much greater than the licensing fee

 alone, ensuring “that defendant will be put on notice that it

 costs less to obey the copyright laws than to violate them.” See

 Broad. Music, 555 F. Supp. 2d at 544 (quoting A & N Music Corp. v.

 Venezia, 733 F. Supp. 955, 958 (E.D. Pa. 1990)). At the same time,

 the figure is proportionate to the severity of the infringement

 and the Defendant’s conduct, which was a one-time willful posting

 of one image to Defendant’s website and prompt removal after

 notification of infringement. See Broadcast Music, Inc. v.

 DeGallo, Inc., 872 F.Supp. at 169. For the aforementioned reasons,

 the Court finds that $7,600 is sufficient to compensate the

 Plaintiff and deter the Defendant from future violations. See

 Broad. Music, 555 F. Supp. 2d at 544.



 IV. Copyright Management Information

      This Court also granted a default judgment as to liability

 for the Defendant’s removal of copyright management information

 under 17 U.S.C. § 1202. [Docket Items 18, 19]. Plaintiff may


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 recover an award of statutory damages for each violation “in the

 sum of not less than $2,500 or more than $25,000.” 17 U.S.C. §

 1203(c)(3)(B). Unlike in the copyright infringement context, there

 is no willfulness enhancement.

      Plaintiff has requested the statutory maximum of $25,000 for

 the Defendant’s removal of copyright management information.

 Plaintiff’s copyright management information consists of a yellow

 watermark, “physically made a part of each image,” which includes

 Plaintiff’s name, contact information, and the fact the rights to

 the image belong to the Plaintiff. (Supp. Br. at 5). Plaintiff

 certified that he “further embed[s] each image electronically with

 identifying information and metadata.” (Kennedy Dec. ¶ 8).

 Plaintiff has stated that Defendant “brazenly displayed

 plaintiff’s image, with the copyright management information

 removed. . . .” (Supp. Br. at 5). Defendant removed the copyright

 management watermark by cropping the photographic image to exclude

 the watermarked area. (See Compl. Ex. A; Compl. Ex. C).

        The Court notes that the removal of the copyright management

 information assisted with the copyright infringement, allowing

 Defendant to present the photo in cropped form on Defendant’s

 website. However, given the circumstances of the infringement

 discussed in part II, this Court holds that $25,000 is excessive.

 This Court finds that $5,000, or twice the statutory minimum for

 the removal of copyright management information, is reasonable and


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 just. In making this determination, the Court has considered the

 Defendant’s conduct as well as the dual purposes of statutory

 damages to compensate and deter. See Broad. Music, 555 F. Supp. 2d

 at 544.

       Accordingly, Plaintiff has proved his entitlement to default

 judgment in the amount of $12,600 plus costs. The accompanying

 Default Judgment will be entered.




   February 5, 2016                  s/ Jerome B. Simandle
 Date                               JEROME B. SIMANDLE
                                    Chief U.S. District Judge




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